                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

UNITED STATES OF AMERICA,                                Case No. 15-CR-117-pp

                  Plaintiff,

v.

WILLIAM H. PHILLIPS and
MARGAREE CAMPBELL,

                  Defendants.
______________________________________________________________________________

  ORDER ADOPTING JUDGE JOSEPH’S REPORT AND RECOMMENDATION
 (DKT. NO. 349) AND DENYING DEFENDANTS’ JOINT MOTION TO DISMISS
                   FOR IMPROPER VENUE (DKT. NO. 304)
______________________________________________________________________________

      The government charged defendants William Phillips and Margaree

Campbell with one count of conspiracy to possess with intent to distribute and

to distribute heroin, and multiple counts of attempting to possess with intent

to distribute and to distribute heroin. Dkt. No. 115. The indictment alleges that

Phillips and Williams were part of the Rayford Williams drug trafficking

organization (DTO). Id.

      On December 18, 2015, Phillips and Campbell filed a motion asking the

court to dismiss all of the substantive drug counts (Counts 3-11, 13-14, 16,

18-19 and 21-23) against them for improper venue. Dkt. No. 304. Specifically,

they argued that all of their alleged drug dealing took place in the Chicago

area, and thus that venue in the Eastern District of Wisconsin was improper.

Id.



                                        1

      Case 2:15-cr-00117-PP    Filed 05/16/16   Page 1 of 10   Document 382
      On March 11, 2016, Judge Joseph issued a report and recommendation,

recommending that this court deny the motion to dismiss. Dkt. No. 349. Judge

Joseph found that the facts were disputed as to whether Phillips and Campbell

had reason to know where the drugs they had sold the Williams DTO were

headed, and that the jury was the appropriate fact-finder with regard to that

question. Id.

      The defendants objected to Judge Joseph’s report and recommendation.

Dkt. No. 354. By this order, the court adopts Judge Joseph’s recommendation,

and denies the defendants’ motion to dismiss.

      Judge Joseph’s order sufficiently lays out the case law regarding the

constitutional underpinnings of the venue requirement. Dkt. No. 349 at 2-3.

The court, then, will move to the specific issue raised by the defendants.

      In 1987, the Seventh Circuit considered a defendant who’d been charged

with using a communication facility to commit a felony drug offense, in

violation of 21 U.S.C. §843(b). Andrews v. United States, 817 F.2d 1277, 1279

(7th Cir. 1987). The court had to decide where the defendant, who had received

all of the charged calls in Illinois, had “used” the alleged communication facility

(the phone). Id. One of the charged calls had been placed from the Western

District of Wisconsin, and that was where the defendant was charged. Id. at

1278. The defendant challenged venue in Wisconsin, arguing that if the court

allowed the government to prosecute someone in the district in which the

government itself chose to place a call, it would be allowing impermissible

forum shopping. Id. at 1279. The Seventh Circuit found no evidence of forum-


                                        2

      Case 2:15-cr-00117-PP    Filed 05/16/16   Page 2 of 10   Document 382
shopping, and indicated that if there had been such evidence, the trial court

could have transferred venue to another district pursuant to Fed. R. Crim. P.

21. Id. at 1279-80.

      Subsection (b) of Fed. R. Crim. P. 21 states that, “[u]pon the defendant’s

motion, the court may transfer the proceeding, or one or more counts, against

that defendant to another district for the convenience of the parties, any victim,

and the witnesses, and in the interest of justice.” The defendants could have

asked Judge Joseph to transfer the entire prosecution, or possession and

distribution counts against them, to the Northern District of Illinois. They did

not do so.

      Instead, they filed a motion asking the court to dismiss Counts 3-11, 13-

14, 16, 18-19, and 21-23 for lack of venue, pointing to the constitutional

underpinnings of the venue doctrine. The defendants’ argument is somewhat

similar to the argument of the defendant in Andrews: while they concede that

venue is proper in the Eastern District of Wisconsin for the conspiracy count,

they argue that it is not proper for the attempted distribution and possession

counts, because all of the defendants’ alleged activity regarding those counts

took place in the Northern District of Illinois.

      The government charged the defendants with attempted distribution and

possession under 21 U.S.C. §§841(a)(1) and 846. In United States v.

Muhammad, 502 F.3d 646 (7th Cir. 2007), the Seventh Circuit held that when

considering whether venue is proper for a defendant charged with violating 21

U.S.C. §§841(a)(1) and 846, a court must keep in mind that possession with


                                         3

      Case 2:15-cr-00117-PP     Filed 05/16/16     Page 3 of 10   Document 382
intent to distribute is a “continuing crime,” and that “attempt” is an inchoate

crime. Id. at 653. Thus, the court held, in cases involving such continuing

offenses, “it is not essential that the defendant ever [has] been physically

present in the district in question, so long as the offense continued into the

district.” Id. (citation omitted). While the court agreed that venue in such

continuing offenses would be improper when the “Government had failed to

demonstrate that any activity involving that particular count occurred” in the

charging district, it found that venue would be proper in a continuing offense if

a defendant “attempted to possess cocaine with intent to distribute” in the

charging district. Id. at 654.

      Judge David Hamilton (then a district judge) considered those

conclusions in a case in which “venue [was] based not on the defendant’s own

contacts with the forum but instead on the actions of others,” and

acknowledged that venue in that circumstance posed a more difficult question.

United States v. Jang, No. 07-cr-52, 2007 WL 4616927, at *7 (S.D. Ind. Dec.

27, 2007). Judge Hamilton read the Muhammad decision in conjunction with

Judge Cudahy’s concurrence in Andrews, in which Judge Cudahy indicated

that in order for venue to be constitutional in a case involving use of a

communication facility, the evidence would have to show that the defendant

had some knowledge of the place from whence the call was placed. Id. (citing

Muhammad, 502 F.3d at 1281 (Cudahy, J., concurring). Judge Hamilton

opined that reading Muhammad and the Andrews dissent together “suggest[ed]

that the Constitution’s criminal venue requirements include some degree of


                                          4

      Case 2:15-cr-00117-PP      Filed 05/16/16   Page 4 of 10   Document 382
knowledge of the effect on the forum state or district that would make it

foreseeable for a defendant to expect to be, in the phrase drawn from personal

jurisdiction in civil cases, ‘haled into court there.’” Id. (quotation omitted).

      Judge Hamilton could not tell from the indictment and pleadings

whether the defendant had knowledge, or reason to know, that the images of

child pornography he produced would later be transported to Indiana. Id. at *9.

Accordingly, he denied the defendant’s motion to dismiss without prejudice,

and expressed a willingness to reconsider the issue were the facts at trial to

demonstrate that the defendant had no such knowledge. Id. Judge Joseph

reached a similar conclusion in this case, and her decision walks through the

facts presented in the charging documents and other pleadings to conclude

that the facts regarding what Phillips and Campbell had reason to know are

disputed. Dkt. No. 349 at 7-9.

      Prior to the issuance of the indictment, the government filed a complaint,

accompanied by a detailed, 104-page affidavit. Dkt. No. 1. That complaint and

affidavit were filed under seal, because the defendants had not yet been

apprehended. The facts contained in the affidavit indicate the following:

     (1) defendant Rayford Williams sometimes drove a silver Saturn Ion with
Wisconsin plates (Id. at ¶21);

     (2) defendant George Seals drove a white Oldsmobile Aurora with
Wisconsin license plates (Id. at ¶44);

       (3) intercepted telephone calls indicated that defendant Williams
obtained heroin from defendant Phillips, who was located in Chicago, Illinois
(Id. at ¶45);



                                          5

      Case 2:15-cr-00117-PP      Filed 05/16/16   Page 5 of 10   Document 382
         (4) Phillips obtained that heroin from his sister, Margaree Campbell (Id.
at 46;

     (5) Williams started using George Seals as a heroin distributor in
Milwaukee (Id. at ¶47);

         (6) Campbell was a heroin distributor in Chicago, Illinois (Id.);

         (7) Phillips and Campbell were “believed to be brother and sister” (Id. at
¶51);

     (8) agents believe that on at least sixteen occasions, Rayford Williams
had obtained heroin from Phillips and Campbell (Id.);

       (9) during a phone call intercepted on March 22, 2015, Williams told
Phillips that Williams was going to “come down there to see you” (Id. at ¶52);

       (10) later the same day, a GPS tracking device on the silver Saturn Ion
with Wisconsin plates reflected that it had traveled from Milwaukee to Chicago
(Id. at ¶¶ 53-54); and that intercepted phone conversations indicated that
Phillips had met with Phillips in Chicago that day (Id. at ¶¶53-55);

      (11) during another call intercepted later that same day, Phillips asked
Williams (who had left Phillips’ residence earlier in the day) “You alright
family?,” and that the agents “believe[d]” this meant that Phillips was asking
Williams “if [Williams had made it back to Milwaukee safely” (Id. at ¶55);

      (11) a call intercepted on April 28, 2015 reflected Williams telling Phillips
that he was about to “send my partner up there” (Id. at 56);

       (12) a call intercepted later on April 28, 2015 recorded Williams telling
Phillips that he would “be up there” the next day—April 29, 2015 (Id. at 57);

      (13) a call intercepted later that same day recorded George Seals telling
one of his customers that he had to get up early the next day to “go up there,”
and that he’d be back by 1:00 o’clock (Id. at ¶58);

      (14) calls intercepted on April 29, 2015 indicated that Williams sent
Seals to Chicago that day, and that Seals drove his white Aurora from
Milwaukee to Chicago (Id. at ¶¶59-60);

     (15) Seals met with Phillips in Chicago, at Seals’ car, later that day (Id. at
¶¶62-63); and



                                           6

         Case 2:15-cr-00117-PP    Filed 05/16/16   Page 6 of 10   Document 382
       (16) a call intercepted after Seals left Chicago recorded Phillips asking
George Seals, “You made it home safe, family?;” the agents concluded that
Phillips had called Seals “to let him know he had arrived safely back in
Milwaukee” (Id. at ¶63).

      The indictment itself provides no additional information to enlighten the

court on what defendants Phillips and Campbell may or may not have known

about where the heroin they provided was headed. It states only that the

defendants conspired with each other to possess with the intent to distribute

and to distribute heroin (Count One), and then charges various defendants

with attempting to distribute and to possess with intent to distribute heroin on

various dates. Dkt. No. 115.

      In its response to the defendants’ motion to dismiss the substantive drug

counts for lack of venue, the government argues that the facts alleged in the

affidavit (or a summary of them) demonstrate that Phillips and Campbell had

reason to believe that the drugs they sold in Chicago would travel to

Milwaukee. Judge Joseph, however, found that at this point, she could not

answer the question of whether those facts established that proposition.

      This court reaches the same conclusion as Judge Joseph did. The facts

described above do not shed definitive light on whether Phillips and Campbell

had reason to know that the heroin they sold was bound for Milwaukee. The

facts support an inference that Phillips knew that Williams and Seals did not

live in Chicago—the recorded conversations indicate that he and both Williams

and Seals exchanged calls over an extensive travel time, and that Phillips may

have checked with both Williams and Seals after their trips to make sure they


                                         7

      Case 2:15-cr-00117-PP    Filed 05/16/16   Page 7 of 10   Document 382
arrived at their home destinations safely (implying that he knew they had a

long way to travel, and a long distance over which to risk apprehension). But

these facts don’t demonstrate that Phillips knew that Williams and Seals were

taking the drugs to Wisconsin. They demonstrate only that he appears to have

known that Williams and Seals were taking them somewhere further away than

the Chicago metropolitan area.

      The government also argues that the cars that Williams and Seals used

to travel to Chicago bore Wisconsin license plates. The affidavit supports this

assertion. But the affidavit gives little information to warrant an assumption

(and at this point, it appears that the government is making just that—an

assumption) that Phillips saw the plates on either car, or noticed that they

were Wisconsin plates (as opposed to Indiana or any other state). The

government points out that during some intercepted phone conversations,

Williams told Phillips that he coming “down there” to see Phillips; this could

cause Phillips to infer that Williams lived somewhere north of Chicago. But in

other conversations, Williams talks about going “up there,” or sending his

partner (Seals) “up there.” Those statements could have caused Phillips to infer

that Williams, or his partner, were coming from somewhere south of Chicago.

      Further, these facts do not provide any indication that defendant

Campbell had information about where the drugs she gave Phillips (that ended

up with Williams/Seals) were going, or even to whom Phillips was giving them.

While the facts indicate that Phillips and Campbell were brother and sister,




                                        8

      Case 2:15-cr-00117-PP    Filed 05/16/16   Page 8 of 10   Document 382
this does not demonstrate that Phillips knew where the drugs he procured from

Campbell were headed, or that if he did know, he told her.

      The court disagrees with the defendants’ assertion in their objection to

Judge Joseph’s recommendation that “the factual record is sufficiently

developed for the Court to determine that venue in the Eastern District of

Wisconsin is not proper.” Dkt. No. 354 at 10. The record contains some hints

that perhaps Phillips might have had reason to know that Williams and Seals

took the drugs back to Wisconsin, and while the affidavit is silent on the

subject, it is possible that the government might present evidence at trial to

prove that Campbell knew, as well. The court agrees with the government (and

with Judge Joseph) that the appropriate way to address the lack of factual

clarity regarding what Phillips and Campbell did or did not know is best

resolved by providing a venue instruction to the jury at trial. If the jury finds

that the government has not proven venue as to one or both of the defendants,

then it may find in their favor as to the substantive counts. That is the jury’s

function—to determine whether the government has carried its burden of proof

as to the facts that would support the conviction on each count. In the

alternative, if at the close of the government’s case, the defendants believe that

the government has failed to prove any facts that would support venue on any

of the substantive drug counts, the defendants may ask the court to enter

judgment in their favor on those counts.




                                         9

      Case 2:15-cr-00117-PP     Filed 05/16/16   Page 9 of 10   Document 382
      The court ADOPTS Judge Joseph’s recommendation (Dkt. No. 349), and

DENIES the defendants’ motion to dismiss the substantive drug counts for lack

of venue. Dkt. No. 304.

      Dated in Milwaukee, Wisconsin this 16th day of May, 2016.




                                      10

     Case 2:15-cr-00117-PP   Filed 05/16/16   Page 10 of 10   Document 382
